eee 22-cv-01102-MAD-ATB Document 11. Filed 06a Hee BE PTSHADF

No Restding dudges ot cose He : SiSa - Ties

JUN 23 al3.

‘MAD/ ATC: -5 2a9.-Ca/2 loa 10-23-23

AT 0! clog K
Hohn M: Bo Bomurad, Clerk - Syracuse

[Sled by -Mysels . AledJONsa wos sontes ML. L Cees eves

OQ Letkes An eSfonce* ko _ Myo Ye. ancien cs

canMomnk og%as 4 of cess fac Lames$0Q bate ___
and the Llertes state a Eh@cough “nyest gabioa

eEvleQ Alber Oll bhe enideace YX sypmtted Gnd

besore Lhe couck decided ushal - Ws Facis jbhey

darectiines 1x was vuncgund, (&. dadgy SvubMMbe thasc _
l oo a ee Senk 40 them Ao Fest Joce

A4 ShoulA be Nigted 2% tur nad aves both my Odinendthen

ONd asi NOL cAavil cofPlainkg +o Ahe Lotice APoNMent_
QMA OSS\Ce OF COosm@Mbe Caounsel-——— End Gt Nobe ——

KN Qadeiy {

ZZ

4 DleJanice

x ae la Se

De fe Yyy SS ling oe

ms i SymcuSe-_, Ny }3z0|

a * Yis_Abicess ‘is vaLy

:22-CV- - - D ent11 Filed 06/23/23 Pa
Case 5:22-cv-01102-MAD-ATB gute: 962 9420 3c]

1°t Deputy Chief Psu, Deputy Chiefs
Richard F. Shoff, Jr. Richard H. Trudell
Julie L. Shulsky
Mark M. Rusin

SYRACUSE POLICE DEPARTMENT
Joseph L. Cecile, Chief

21 Sept. 2022

Mr. Alejandro Dos Santos
444 S. Salina Street, Unit 686
Syracuse, N.Y.. 13202

Dear Mr. Dos Santos:

This letter is to advise you that I have received your written
complaint and have assigned the appropriate personnel to conduct
a thorough investigation of the incident.

A report of the findings and recommendations will be delivered to
me within forty-five days so that I may make an administrative
decision on the appropriate action I will take in this matter.

Sincerely,

Joseph L. Cecile

Chief of Police

JSC/CD

Policing the community through partnerships, prevention, and problem-solving.
511 South State Street, Syracuse, NY 13202 315.442.5200 www.syracusepolice.org
Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23 Page 3 of 20
Ranette L. Releford LLEDQYY P -0\- 062

Administrator
RReleford@syrgov.net

CITIZENS REVIEW BOARD

Benjamin R. Walsh, Mayor
September 21, 2022

Alejandro Dos Santos III
444 S Salina Street Unit 868
Syracuse, NY 13201

Dear Mr. Dos Santos:

You recently filed a complaint with the Syracuse Police Department’s Office of Professional Standards (OPS) regarding an
incident on October 20, 2019. Anytime a complaint is filed with OPS, the Citizen Review Board also conducts a separate,
parallel investigation. The CRB investigation has been initiated to examine the allegations made in your complaint. You will
be kept informed as your case progresses through the CRB process, but please do not hesitate to call if you have any
questions about the status of your complaint.

The CRB will investigate your complaint and decide whether to make any disciplinary recommendations to the Chief of
Police regarding the actions of the involved officer(s). The investigation includes the taking of statements from witnesses
and a review of all relevant documents (including police reports, photographs, and any audio or video recordings) that
corroborate or contradict the allegation(s) of officer misconduct. Upon completion of the investigation, the 11 members of
the CRB will review the investigation and vote to determine whether there is sufficient reasonable cause to proceed to a
hearing to address the allegation(s) of misconduct. If the Board votes to send your case to a hearing, | will contact you to
schedule the hearing at a time that is convenient for you. A hearing panel composed of three members of the CRB will be
formed to examine the documentary evidence prior to the hearing. At the hearing, you will have the opportunity to describe
the incident to the panel. You will be expected to testify truthfully and answer all relevant questions. You have the option
to bring legal counsel with you if you like, but it is not required. The three-member CRB panel will vote on whether to sustain
the allegation(s) against the officer(s), exonerate the officer(s), or conclude that there is insufficient evidence to make a
finding. You will be notified in writing of the CRB panel's finding. If the panel sustains a finding against an officer, they will
also make a disciplinary recommendation to the Chief of Police. The panel's findings as well as any disciplinary
recommendations will be forwarded to the Chief of Police who then reports to the CRB any disciplinary action taken by the
department concerning your complaint.

At any point prior to a hearing, you may request to have your complaint routed through conciliation instead of through the
investigative process. Having your case routed through conciliation would require both your consent and agreement by the
subject officer(s) to participate in the conciliation process. Conciliation is an alternative to the investigative process and
would not result in the imposition of any sanctions against the subject officer(s). The purpose of conciliation is to arrive at
a resolution that is mutually agreeable to the involved parties. Conciliation would involve a mediated discussion between
you and the subject officer(s) and a designated third party to be mutually agreed upon. If the outcome of the conciliation
process is not satisfactory to both parties, you may resume the CRB investigative process.

Thank you again for filing a complaint and providing feedback on your interaction with a member of the Syracuse Police
Department. Your participation in the CRB process helps to ensure that our neighborhoods and communities are policed
in a professional manner consistent with all applicable laws and policies. If you have any questions regarding the CRB
process or the investigation of your complaint, please contact me at 315-448-8750.

Sincerely,

Rauette L, Releford

Ranette Releford
Administrator

/mab
201 East Washington Street - Room 701 - Syracuse, N.Y. 13202 - (315) 448-8750 - FAX 448-8768 -
syrgov.net/ctb.aspx
Case S27 Sy-0rI0z-A D-ATB Document 11 Filed 06/23/23 Page 4 of 20

Poi - 00?
| Alejandro Dos Santos Ill -Pro Se
_ 444 S Salina Street Unit 868 , Syracuse, NY 13201 | 315-217-1736 | Alejandro _ds3@outlook.com

_ September ,29, 2022
} a:

Chief of Police. Sir Joseph L Cecile
Syracuse Police Department
511 S State Street , Syracuse, NY

Dear Chief of Police. Sir Joseph L Cecile:

| have received your last correspondence.

To The public and Syracuse.Com Officers specifically but not limited to officer Nikki Hendrix
and Brandon Hanks admitting the Syracuse Police Department is racist and adds incentives

for civilian constitutional Violations proves the basis of my claim.

This Police Department systematically discriminates and retaliates against all Blacks, Browns,
and Minorities. They cast me and any person of color as a gang member and inferior. I'm
suing the Syracuse Police Department for violating my constitutional rights, which officers
have come out after and admitted to being a trend at this Department undeniably
inadvertently proves my claim. The use of intentional Constitutional Violations has been
displayed in my case proving it to be true. These officers are not only told, but also trained,
and taught to violate our constitutional rights, They're rewarded for it as if it's a good thing or
legal.

The Constitution, through the Fourth Amendment, protects people from unreasonable
searches and seizures by the government. Tampering with evidence destroys and
changes the evidence there is in the hopes that the tampering will affect the outcome of a
criminal investigation. Tampering with evidence is bad enough when it’s civilians but when it’s
one of the law enforcement officers involved with intentional interference with an investigation,
Case 5:22-CV-O1102-MAD-ATB- Document 11 Filed 06/23/23 Page 5 ef 20

~6l- col
it’s a serious criminal offense as these are the people we rely on for the integrity of cases.
Syracuse Police Officers have put a major question on the moral integrity of criminal
investigations. Officers broke the chain of evidence by tampering with evidence and
falsifying evidence/records and court testimony. All officers involved

Committed perjury and Evidence tampering. They attempted to seal in a Criminal possession
of a weapons conviction on me and went to great lengths to do so and failed because | am
not a felon as they claimed so the staged crime scene to secure the charge closed book was
unneeded. Once they found no evidence of assault and abuse on my daughter they weren't
happy with no crime being committed, we/ | just had to be guilty of something to justify their
first extreme and wrong assumptions of child abuse. We couldn't be innocent they were
adamant and persistent in making a crime have happened. Not one officer stopped it or stood
up to correct it which shows it was no error, this was Organized crime, and Corruption and
these are Gang members, Organized Gangs with Badges and Blatant and Extreme Racism.

Based on deliberate falsehoods in the completion of Syracuse Police Officers’ application for

the search warrant and an affidavit in support of the search warrant and misrepresentation of
facts supporting probable cause, the warrant was unlawful.

An individual can be prosecuted for perjury under §1621 no matter where he made the
statements, so long as he has been placed under oath by an individual authorized to
administer the oath under federal law, or makes the statements subject to the penalty of
perjury therefore your are guilty of that. Furthermore According to New York Penal Law
section 215.40, you are guilty of tampering with physical evidence when; with the intent to
have a particular piece of physical evidence used or introduced in an official or prospective
official proceeding, you knowingly make, prepare or devise false physical evidence. Under
New York Penal Law section 105.00, you have committed the crime of conspiracy in the sixth
degree if with intent to commit a crime you agree with one or more other persons to commit

that crime.

There is A Preponderance amount of undisputed evidence submitted by your officers showing
several Constitutional Violations have occurred and several criminal crimes have occurred
including but limited to the therefore mentioned.
Casé 5:22-CV-U1I1I02-MAD-ATB Document 11 Filed 06/23/23 Page 6 of 20
P-ol- aos

| am not looking to publicly humiliate or Shame this Department, | am asking my allegations
to be heard, investigated and for my demands in my Intent to sue which is valid for 60
days from 08/29/2022 (delivered upon this Department certified mailed
[70220410000046124580-USPS TRACKING] and picked up at 9:14 am on September 6,
2022, in SYRACUSE, NY 13218 by Sharita Lyles SPD) to be taken seriously and all officers
who committed and or conspired to commit crimes to be prosecuted to the fullest extent of the

law and relieve of their Police powers immediately pending further investigation.

A Complaint and request for intervention have been filed with the Department of Justice,
Case ID 201367-GQC.

Sincerely,

Alejandro Dos Santos Ill — Pro Se
Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23 Page 7 of 20
Subscribe
? -g\- 00 G

a

Crime & Safety
2nd Black Syracuse officer set to sue

department, alleges discrimination
on the job

Updated: May. 04, 2022, 6:22 p.m. | Published: May. 04, 2022, 8:00 a.m.

Nikki Hendrix has worked with the Syracuse Police Department for 11 years and is alleging
the she's been discriminated against on the job. Dennis Nett | dnett@syracuse.com

| 2eS

shares
NEW!
By Chrisbtioivatl PHB ONeROLyraeasEeiMy Fed 09/29/29 Page 8 of 6

Gl- oo}
Syracuse, N.Y. -- A second Black police officer within a year has

taken the first steps to sue the department, alleging it makes it
harder for Black officers to succeed.

Nikki Hendrix, who has worked for the department for more than 11
years, wrote in a notice of claim filed with the city that the
department systematically discriminates against Black officers,
judges them more harshly in the promotional and hiring process
and incentivizes Black officers to violate citizens’ constitutional
rights to get ahead in the department, among other claims.

Advertisement

She also accused the department of failing to hit a goal set in 1980
by the city and the U.S. Department of Justice for the city to hire
and promote more Black officers and women.

A notice of claim notifies a municipality of someone's intent to sue.
Hendrix now has 15 months to sue the department.

Hendrix, 42, a city resident, has applied four times to become a
sergeant, once to become a training officer in the academy, once
to become a detective and her application to become a school
resouFéeofficer Was iMitally deri she SAW SHE waeSven tially

made a school resource officer after she filed a grievance. 0 sf aee

04 @

She also sued the officers involved in each promotional process.

Hendrix’s lawyers wrote that she has “been denied for every
promotion she has applied for, only to witness these positions be
offered to less qualified Caucasian male officers who live outside
the City of Syracuse.”

“She checks all the boxes for what these departments need,” said
her lawyer Jesse Ryder. “This is the future of policing. And by
virtue of the fact that she is qualified, she becomes the target.”

Hendrix's claim follows one filed by Brandon Hanks, who last year
charged that the department systemically discriminates and

retaliates against Black officers and creates what the lawsuit
termed a “Jim Crow culture.” The department allowed a hostile
work environment including racial harassment, racial stereotypes,
and treatment of Black officers as inferior, Hanks alleged.

Advertisement
Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23 Page 10 of 20
P-cl- 06

Chief Joe Cecile said he “obviously” could not comment about
Hendrix’s claims. A city spokesman also declined to comment. The
department and city officials routinely do not comment on pending
litigation.

After Hanks filed his claim, seven current and former Black officers
said in interviews with syracuse.com | The Post-Standard they
agreed with his claim and had a similar experience.

Hendrix is being represented by Ryder and Charles Bonner, the
same lawyers who represent Hanks. The lawyers have won or
settled multiple lawsuits filed against city police, including a more
than $2 million verdict in a police brutality case.

Advertisement
“The Gepartrent Baty But This aiselaither ot they-warrerriindrities, P-c-204
they want women, they want city residents, they want you to be
educated,” Hendrix said. “But then they get those types of officers

and then they don't utilize them.

“I’ve shouldn't have been on the job now going on 12 years, and
still be where | started. There's been no progression.”

Hendrix is representative of the community she polices, has built
strong relationships with the community as part of the
department’s community policing division and has extensive
education, she said.

The officer received an undergraduate degree in sociology from
the University of Texas at San Antonio, a master’s degree in
education from East Central University and is pursuing a
doctorate’s degree from Northcentral University.

Pins articamant
Advertisement

Part of her career was spent working at the Southwest Community
Center in one of the department's former community policing
storefronts. Hendrix said she ran resume workshops and mentored
kids.
As she*S pursued Her aectbrates tebtee’ Herik has hea? HGlding
paint therapy classes for kids at Hillbrook Juvenile Detention —P-gj- olB
Center, some of whom she said she recognizes from having worked

at the Southwest Community Center.

“| can't get a position in training, but yet I’ve got an educational
background. | can’t get a position in CID and I’m very ingrained,
very involved in the community. People talk to me, they tell me
things that they probably wouldn't necessarily tell my fellow co-
workers,’ she said.

Be toAmaANnrT
Advertisement

In the claim, Hendrix claims Black officers who violate the
constitutional rights of citizens are the ones most likely to get
promoted or transferred into more favorable positions. _

Her claim provides hyperlinks to videos of incidents involving
Damon Lockett, Vallon Smith and Leonard Brown.

Ryder and Bonner have been involved in suing each of the officers,
alleging constitutional violations. Lockett, who was one of the
officers found by a federal jury to have beaten Alonzo Grant, and
Brown, an officer who was involved in stopping a man in the Near
Westside and pulling him out of the car, later became detectives.
Case 5:22-cv-01102-MAD-ATB , Document 11 Filed 06/23/23 Page 13 of 20

Smith retired from the department late last year.
MORE STORIES ABOUT POLICING IN SYRACUSE

Black officers say they felt isolated, discouraged in Syracuse police
force: ‘I just got tired of it’

Syracuse's best-known police officer attacks department's Jim

Crow culture’ in racial bias claim

‘They cast me off as a gang member’: Hanks speaks out for ist

time since filing claim against SPD

7-year-old scores basket on undefeated Syracuse cop, wins new

sneakers

A blue wall, fortified over decades, protects Syracuse cops from

accountability

A tarticaman}
Advertisement
Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23 Page 14 of 20

P-a|-e\l

In Ist executive order, Walsh unveils package of reforms to
Syracuse Police Department

Faces of the Syracuse protests: Why we are marching, rallying
against police brutality

Got a tip, comment or story idea? Contact Chris Libonati by phone
at 585-290-0718 or by email at clibonati@syracuse.com.

Note to readers: if you purchase something through one of our affiliate links we
may earn a commission.

ADVANCE Registration on or use of this site constitutes acceptance of our

LOCAL. User Agreement, Privacy Policy and Cookie Statement, and Your
California Privacy Rights (User Agreement updated 1/1/21. Privacy
Policy and Cookie Statement updated 7/1/2022).

Cookies Settings

© 2022 Advance Local Media LLC. All rights reserved (About Us).
The material on this site may not be reproduced, distributed, transmitted, cached or otherwise used,
except with the prior written permission of Advance Local.

Community Rules apply to all content you upload or otherwise submit to this site.

®
E>
be
Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23

JOSEPH W. BELLUCK, CHAIR
TAA GRAYS, VICE CHAIR

HON. FERNANDO M. CAMACHO
JODIE CORNGOLD

HON. JOHN A. FALK

HON. ANGELA M. MAZZARELLI
HON. ROBERT J. MILLER
MARVIN RAY RASKIN

RONALD J. ROSENBERG
GRAHAM B. SEITER

AKOSUA GARCIA YEBOAH
MEMBERS

CELIA A. ZAHNER, CLERK

NEW YORK STATE

COMMISSION ON JUDICIAL CONDUCT

400 ANDREWS STREET, SUITE 700

ROCHESTER, NEW YORK 14604
585-784-4141 518-299-1757

TELEPHONE FACSIMILE
www.cjc.ny.gov

CONFIDENTIAL

November 14, 2022

Page 15 of 20
P-e2- ool

ROBERT H. TEMBECKJIAN
ADMINISTRATOR & COUNSEL

JOHN J. POSTEL
DEPUTY ADMINISTRATOR

M. KATHLEEN MARTIN
DAVID M. DUGUAY
SENIOR ATTORNEYS

STEPHANIE A. FIX
STAFF ATTORNEY

Mr. Alejandro Dos Santos II
444 South Salina Street, #868
Syracuse, New York 13201

Re: File No. 2022/R-0526

Dear Mr. Santos:

This is to acknowledge receipt by the State Commission on Judicial
Conduct of your complaint dated November 7, 2022.

Your complaint will be presented to the Commission, which will decide
whether or not to inquire into it. We will contact you after the Commission has
reviewed the matter.

For your information, we have enclosed some background material about
the Commission, its jurisdiction and its limitations.

Very truly yours,

AQ

Kathryn Trapani
Executive Assistant to the Deputy Administrator
Enclosure
Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23 Page 16 eS
Sr ae ete ao!

1°* Deputy Chief
Richard F. Shoff, Jr.

Deputy Chiefs
Richard H. Trudell
Julie L. Shulsky
Mark M. Rusin

SYRACUSE POLICE DEPARTMENT
Joseph L. Cecile, Chief

June 15, 2023

Mr. Alejandro Dos Santos
444 S. Salina Street
Syracuse, N.Y. 13201

Dear Mr. Dos Santos:

In the matter of Alejandro Dos Santos vs. Police Detectives Pelz and Ervine
Allegation of Misconduct: Violation of policy (tampering)
OPS case #22-073

A thorough investigation was conducted concerning the above matter. Your complaint was filed
35 months after the incident occurrence. The above charge could not be sustained by the Office
of Professional Standards at the conclusion of their investigation in February of 2023. This
investigation was handled properly and within departmental policies.

—

L

/ /
SAT-Cecile
(ji of Police

SEl/mb-f

Policing the community through partnerships, prevention, and problem-solving.
511 South State Street, Syracuse, NY 13202 315.442.5250 www.syr.gov/police
Case 5:22-cv-01102-MAD-ATB Document11 Filed 06/23/23 Page 17 of 20

STATE OF NEW YORK
490 ANDREWS STREET, SUITE 700
ROCHESTER, NEW YORK 14604

ADDRESS SERVICE REQUESTED
PERSONAL & CONFIDENTIAL

PITNEY BOWES

$0.57 2

US POSTAGEM
FIRST-CLASS
026W0004897271
2000055859

ZIP 14604

Mr. Alejandro Dos Santos II
444 South Salina Street, #868
Syracuse, New York 13201

Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23 Page 18 of 20

Syracuse Police Department
511 S. State Street - 29 -SRp pa7 see 4 8
Syracuse, NY 13202 ee

OP ia ee payee se tay “
SYRAGIISE MY 130 oc

MY. Aleandye Dos Santas
U4 3. SOUIna ¥F-

Unit & WSU
SUA US, N Y 13ay

LASOi-sieeei Lafffensgedekypge][Efpegeag feng flpdpelp Aly fplelag hap ad
Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23 Page 19 of 20

Cty of Syracuse

SYRACUSE NY 130
CITIZEN REVIEW BOARD

City Hall Commons - Suite 705 o
201 E. Washington Street
Syracuse, NY 13202

Alejandro Dos Santos III
444 S Salina Street Unit 868
Syracuse, NY 13201

Case 5:22-cv-01102-MAD-ATB Document 11 Filed 06/23/23 Page 20 of 20

Syracuse Police Department
511 S. State Street
Syracuse, NY 13202

Myr. Alejandra Des Sanios
aS SOU ng YP Ae

SACU, WS | JARO]

{BEOLSRiCG COS Nfl pH bedypelphpapadjecdl Mosh aja hp diplpathadyy

loP)

S
